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UN|TED STATES DLSTRlCT COURT 555 ;. ,= ;_\

NHDDLE DlSTRlCT oF FLOR|DA '

TAMPA olvlSlON
uNlTED STATES OF AMER|GA rv ""`
v. CASE No. 3:12-0R- 3m 23 MM
BRITTNEY BEASON, 21 u.S.C. § 341(3)(1)
JAMES BELLOWS, 21 u.s.C. § 846
CHRlS BUCHAN, 21 u.S.C. § 853 (Forreiture)
mchAEL DEslMONE,
HEATHER GARMANY,
Tllvl GRACE,

JENNY HERNANDEZ,
CHR|S JACKSON,
MARK LAPHA|V|,
PAU[_ PARKER,

KARL POLEK,
N|COLE PROCTOR,
TAMARA SHORT, and
SCOTT VlTlELLO

 

|NDlCTMENT
The Grand Jury oharges:
COUNT ONE
From an unknown date through on or about the date of this indictmentl in the
|V|iddle Distriot of F|orida, and elsewhere, the defendants,
BR|TTNEY BEASON,
JAMES BELLOWS,

CHR|S BUCHAN,
M|CHAEL DES|MONE,

HEATHER GARMANY,
TlNl GRACE, _
JENNY HERNANDEZ, \ § _
CHRlS JACKSON, w
MARK LAPHAM,

F’AUL PARKER,
KARL POLEK,

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N|COLE PROCTOR,
TA|V'|ARA SHORT, and,
SCOTT V|T|ELLO,

did knowingly and willfully conspire with each other and with others, both known
and unknown to the Grand Juryl to possess with intent to distribute, and to
distribute a quantity of a mixture and Substance containing a detectable amount
of Oxycodone, a Schedu|e || Control|ed Substance, in violation of Title 21, United
States Code, Section 841(3)(1).

A|| in violation of Tit|e 21, United States Code, Sections 846 and 841(b)(1)(C).

F_QM|B§

i. The allegations contained in Count One of this indictment are hereby
realleged and incorporated by reference for the purpose of alleging forfeitures,
pursuant to the provisions of Tit|e 2‘i, United States Code, Section 853.

2. From their engagement in any or all of the violations alleged in Count
One punishable by imprisonment for more than one yearl the defendantsl

BR|TFNEY BEASON,
JAMES BELLOWS,
CHR|S BUCHAN,
M|CHAEL DES|MONE,
HEATHER GARN|ANY,
T|iv| GRACE,
JENNY HERNANDEZ,
CHR|S JACKSON,
MARK LAPHAM,
PAUL PARKER1
KARL POLEK,
N|COLE PROCTOR,
TAMARA SHORT, and
SCOTT V|T|ELLO,

2

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shall forfeit to the United Statesl pursuant to Title 21, United States Code,

Sections 853(a)(1) and (2), all of their right, title and interest in:

a. property constituting and derived from any proceeds defendants
obtained, directly or indirectly, as a result of such violations;
and,

b. property used and intended to be used in any manner or part

to commit or to facilitate the commission of such violations
3. if any of the property described above as being subject to forfeiturel

as a result of any act or omission of the defendants:

a. cannot be located upon the exercise of due diligence;

b. has been transferred, sold to or deposited with, a third person;
c. has been placed beyond the jurisdiction of the Court;

d. has been substantially diminished in value; or,

e. has been commingled with other property which cannot

be subdivided without difficulty;

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the United States shall be entitled to forfeiture of substitute property under the
provisions ofTit|e 2‘l, United States Code, Section 853(p), up to the value of the

forfeitable property.

 

A TRUE BlLL,
~W£&fé MM--
F‘breperson

ROBERT E. O‘NE|LL
United States Attorney

By: §W
MAMPA PEZ
As ` ed States Attorney

By: /\'W§|§i£ lL O».AAL~,¢\
JbsEPH i<. RuDDY
Assistant United States A orney

Chief, Narcotics Section

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